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      In The United States Court of Federal Claims
                                            No. 13-130C

                                      (Filed: October 18, 2013)
                                             __________

 MANUEL ALMANZA , et al., AND
 OTHER SIMILARLY SITUATED
 PERSONS,
                Plaintiffs,

         v.

 THE UNITED STATES,

                         Defendant.
                                             __________

                                              ORDER
                                             __________

        On October 17, 2013, the parties filed a notice requesting that the court reset current
pending deadlines in this case. Accordingly, on or before October 24, 2013, defendant shall file
its reply to plaintiff’s response to defendant’s motion to dismiss or, in the alternative, to transfer
these claims.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
